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                                                                                  JS-6
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL


 Case No.       SA CV 21-00110-DOC-(DFMx)                           Date       October 27, 2021

 Title          Brian Whitaker v. John Varvatos Enterprises, Inc.



 Present: The Honorable          DAVID O. CARTER, UNITED STATES DISTRICT JUDGE
                      Karlen Dubon                             None Reported
                       Deputy Clerk                      Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                       None Present


 PROCEEDINGS:             (IN CHAMBERS) ORDER DISMISSING ACTION ON STIPULATION
                          TO DISMISS WITH PREJUDICE


      The Court, having been advised that this action has been resolved by a Stipulation of
Dismissal [55], hereby orders this action dismissed with prejudice. The Court hereby orders all
proceedings in the case vacated and taken off calendar.




                                                                                      -    :       -
                                                    Initials of Deputy Clerk    kdu




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